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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              TEXARKANA DIVISION

ALEXANDRA DAVIS,                                 §
                                                 §
        Plaintiff/Counter-Defendant,             §
                                                 §
v.                                               §   CIVIL ACTION NO. 5:23-CV-00032-RWS
                                                 §
JERRAL W. JONES, DALLAS COWBOYS                  §
FOOTBALL CLUB, LTD., JAMES                       §
WILKINSON, TRAILRUNNER                           §
INTERNATIONAL, LLC, DONALD JACK,                 §
JR.,                                             §
                                                 §
        Defendants/Counter-Plaintiffs,           §
&                                                §
                                                 §
CYNTHIA DAVIS-SPENCER,                           §
                                                 §
        Third-Party Defendant.                   §
                                                 §

                                            ORDER

       Before the Court is Defendants Jerral W. Jones, Dallas Cowboys Football Club Ltd., James
    .
Wilkinson, Trailrunner International, LLC, and Donald Jack, Jr.’s Unopposed Motion for

Extension of Time to File Reply in Support of Motion to Dismiss Plaintiff Alexandra Davis’s First

Amended Complaint. Docket No. 64. Defendants request an extension of their original deadline,

December 29, 2023, to January 5, 2024. Id. Having considered Defendants’ motion, and because

it is unopposed, the motion is hereby GRANTED. Accordingly, it is

       ORDERED that Defendants have until on or before January 5, 2024, to file their reply in

support of their Motion to Dismiss Plaintiff’s First Amended Complaint.

       So ORDERED and SIGNED this 28th day of December, 2023.




                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE
